                     EXHIBIT                            134




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                                                                                               Exhibit 548

                                                                                                Marlowe J
                                                                                                 101620

                                                                                                  PIKS
                                                                                                            j
                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE




   NIKKI BOLLINGER       GRAE Individually and
     on Behalf of All Others Similarly Situated



                               Plaintiff




         v
                                                              Civil   Action   No 316cv02267
 CORRECTIONS       CORPORATION OF
 AMERICA DAMON T HININGER DAVID
 M GARFINKLE TODD J MULLENGER
        and HARLEY G LAPPIN



                               Defendants




                EXPERT REPORT OF DR JUSTIN              MARLOWE       PHD CGFM
                                            August   7 2020




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 I         Qualifications




  1        I   am currently a Research                Professor at the Harris School                of Public Policy and the Associate


 Director of the Center for Municipal Finance                              at the    University of Chicago                  From 2014 to 2020 I

 was the Endowed Professor of Public Finance and Civic Engagement                                                at the   Daniel       J Evans School

 of Public     Policy          Governance           at the   University of Washington                    I   have published four books and


 more than 50 scholarly               articles      on a variety of issues in government                         budgeting cost analysis and

 financial
               management              I   have     also served          as an expert witness                on government             finance related


 cases    in    federal       courts        state     courts        and     Securities      and     Exchange               Commission          SEC
 enforcement actions             I    received      my Bachelor           of Arts in public administration and Master of Public


 Administration         degrees        from Northern           Michigan University                 and a Doctor             of Philosophy          degree


 in political     science      from the University of Wisconsin Milwaukee                                    I   am also an elected          Fellow of


 the National         Academy         of Public       Administration               and a Certified Government                    Financial    Manager


 CGFM                  The      CGFM         credential        is     administered         by      the       Association          of     Governmental


 Accountants           It   recognizes       specialized         skills     and knowledge           in   government             financial    reporting


 auditing      and budgeting


 2         I   have    performed           academic research on the costs of various                             state    and    local    public   health


 service delivery models and have                      served       as   a technical     advisor     on cost analysis methods for both

 the   National       Academies         of Science       and the Governmental                   Accounting           Standards         Board       I   have


 provided      expert       analysis in the         context    of litigation         in various     matters including                    an analysis of


 the   costs    of pretrial          diversion                      delivered        by county       prosecutors            in   Washington            State
                                                    programs

 compared       to    the    costs   of similar programs delivered                    by   third
                                                                                                   party providers                an analysis of the


 value   of citizen         access to services delivered                 by a large county government and an assessment                                    of


 alleged discrimination following                     from    local      utility    cost accounting          practices



 3         Copies of my curriculum vitae and summary of recent                                       testifying           experience       are attached


 hereto as     Appendix         A and Appendix               B

           Scope       of Assignment




 4         I   have     been     retained        by    Latham               Watkins     LLP        counsel         for CoreCivic             Inc       fka
 Corrections         Corporation of America or                    CCA CoreCivic                          or      the      Company Damon T



                                                                 CONFIDENTIAL                                                                 Page     1




Case 3:16-cv-02267                    Document 363-27                        Filed 11/20/20                  Page 4 of 36 PageID #: 15707
 Hininger             David              M         Garfinkle         Todd     H     Mullenger           and        Harley     G Lappin                       collectively


 Defendants                         in the     above captioned matter


 5             I   understand                 that    Plaintiff      in   this litigation      claims       that    certain    statements regarding                           the


 relative          cost    of services provided                      by CoreCivic        to    the   Federal Bureau           of Prisons                BOP were
 misleading                     I    have          therefore     been       asked   to    evaluate          statements       CoreCivic                  made between

 February           27 2012              and August            17 2016 the Class Period                            regarding        cost       savings            CoreCivic


 provided           to    the        BOP and            relatedly          statements     comparing           CoreCivics            cost       of services            to      the


 BOP      s    cost of services



 6             As part of this assignment                            I   have reviewed various materials including                             legal         pleadings         in



 this   matter deposition                          testimony and accompanying                    exhibits          SEC filings         research               articles        and


 academic publications governmental                                        agency   publications            investor       presentations                press releases


 BOP documents                        and other materials produced                    in this    matter        A    list   of the materials I have                     relied



 upon     is   set forth in              Appendix            C

 7             I   am being compensated at my standard billing                                       rate   of $650 per hour               I   have been            assisted



 in    this        matter           by    staff       of     Cornerstone          Research           who     worked         under      my           direction                 My

 compensation               in this           matter    is   not in any      way contingent            or based         on the content of my opinion or

 the outcome              of this or any               other matter          My work in this matter                is   ongoing and            I    reserve the right


 to    update        my analysis                   or revise     my conclusions           if   additional      documents            or information                  become

 available          to    me including to respond to any expert reports submitted by the Plaintiff


 III           Summary of Expert Opinions


 8             The statements CoreCivic made during the Class Period regarding cost savings relative                                                                           to



 its   government                   partners were supported                  by   internal     CoreCivic documents                   and publicly available


 information               The           Companys             cost       comparison      statements were limited                to    available               information


 and    reflected          reasonable judgments                          on the cost data compared2




 1

     Consolidated          Complaint for Violation                of the Federal      Securities     Laws     Nikki Bollinger        Grae          et   al    v   Corrections

 Corporation         ofAmerica                et   al March 13 2017 Consolidated Complaint
 2
     Moreover        as    shown         in   Section      VIII information identified by Plaintiff in interrogatory responses do not provide
 cost data or analysis               concerning        CoreCivic    andor the BOP Instead documents and testimony identified by Plaintiff

 appear   to relate        to   the quality          and compliance        of service provided by CoreCivic under             its   BOP contracts



                                                                             CONFIDENTIAL                                                                          Page   2

Case 3:16-cv-02267                                 Document 363-27                    Filed 11/20/20                    Page 5 of 36 PageID #: 15708
 9         CoreCivic made            specific       statements regarding               cost    savings       and cost effectiveness                 using


 terms that    did not guarantee            an absolute         delivery of cost          savings compared to                  BOP run facilities

 under any and       all   assumptions            methodologies and calculations                           CoreCivics           claims      about cost


 savings and cost effectiveness                 were reasonably and appropriately                         qualified in a manner consistent


 with research and literature on the privatization of correctional                                     facilities      Specifically



               a    CoreCivic presented quantitative                           cost   comparisons          that     were based on the              BOP      s




                    own      published           cost     figures       and    identified       instances         in   which     it   defined        costs


                    differently          than the       BOP

               b    CoreCivic acknowledged                        and    identified      that     its    claims      about     cost    savings       were

                    based     on    certain       assumptions about              how    to    define and measure cost effectiveness


                    or cost    savings            These assumptions were                 clearly         articulated      were consistent with


                    findings        in    the    literature       that    evaluates      the      relative      cost     of the       private      prison


                    industry        and were conservative



               c    CoreCivics             more         generic       qualitative      statements          about       cost    comparisons           were


                    clearly    articulated              and supported by the            available          research and         data        They were

                    made      in    the    context        of the       well documented             public      debate         on the    overall          cost


                    effectiveness          of the private          correctional        facility        industry        CoreCivic used             specific


                    termssuch as cost                    effectiveness         and cost efficiencythat                   are   widely used          in the



                    literature and         understood to not guarantee an absolute delivery of cost savings under



                    any and        all   assumptions           methodologies and calculations



 IV        Background


           A        Prison Privatization in the                       US

  10       A surge in the          incarceration           rate   in     the   1980s    and the          resulting      increase       in   the    prison


 population    gave    rise to     contracting           by   state   and federal governments                  for     the private     management

 and operation      of correctional            facilities      Between         1980 and 2000 the               US incarceration              rate   more

 than tripled3 and the estimated total number of people incarcerated in federal correctional                                                 facilities




 3
     Culp Richard   F The      Rise      and    Stall   of Prison Privatization        An     Integration of Policy Analysis            Perspectives
 Criminal Justice   Policy   Review      16 no     4    December 2005 pp 412442                   at   p 419




                                                                CONFIDENTIAL                                                                 Page    3

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 increased nearly                 sixfold4        As part            of the   federal          governments             efforts         to   resolve the            operational


 and budgetary                   issues caused          by prison overcrowding5                            Congress authorized                       the    BOP         to   begin


 contracting              out the housing          of certain           inmates in 19976                      According          to    the    BOP rising prisoner
 populations              constituted         the primary driver of new service costs                                  which the agency                     estimates each


 year by assessing                 how to distribute               inmates across              its   own facilities            and privately operated ones


 The        BOP routinely emphasized its use of private                                        correctional          facilities        as    part of its          strategy for


 dealing with overcrowded                        facilities          which      was consistent with                   its   fiscal     responsibility              goals




 4
       Bureau        of     Justice     Statistics      Key          Statistics     Total        Correctional          Population            19802016              available      at


 haps       www bj sgovindexcfmty=kfdetailiid=488
 5
      Culp Richard          F The Rise and           Stall of Prison Privatization                   An Integration of Policy Analysis Perspectives
 Criminal Justice            Policy     December 2005 pp 412442 at pp 419420 Figure 1 U S
                                      Review     16 no        4

 Incarceration Rate 1925 to 2000 Pratt Travis C and Jeff Maahs Are Private Prisons More Cost Effective Than
 Public Prisons A Meta Analysis of Evaluation Research Studies Crime     Delinquency 45 no 3 July 1999

 pp 358371             at   p 358 Coupled          with inmate          crowding         the high cost of maintaining correctional                         facilities    has

 resulted       in a search for alternative         practices        designed      to alleviate        the financial    burden       placed     on state and federal
 correctional        systems
 6
      Public Law       104208         104th   Congress September 301996                        available      at


 httpswwwtreasurygovresourcecentersanctionsDocumentsp1104208pclf          United States Department of Justice

 Office of the Inspector General Review   of the Federal Bureau of Prisons Monitoring of Contract Prisons
 Evaluation        and Inspections           Division       1606 August 112016                   OIGReport p i Prior to 1997 the BOP did not
 have    direct      experience       with the private        prison sector but it        had had contracts for the housing of certain inmates with

 city   governments that were using private prisons See United States General Accounting  Office Private Prisons
 Cost    Savings and BOP s Statutory   Authority Need to Be Resolved Report    to the Chairman  Subcommittee  on
 Regulation          Business      Opportunities        and Energy         Committee on Small Business House of Representatives                                          February

  1991      p   18
 7
      United    States      Government        Accountability         Office     Bureau of Prisons Methods                     for Cost Estimation Largely Reflect

 Best Practices           but Quantifying Risks              Would Enhance          Decision         Making GAO 1094 November 2009 p 37
             eg U S Department
 8
      See                                       of Justice        FY 2016       Performance            Budget       Congressional           Submission Federal                Prison

 System Buildings                and Facilities p       5    As a       strategy    to   try   to    effectively      manage the        large    inmate          population      and

 overcrowding             the    BOP    continues       to    rely    on a combination of contracts                    with    private        state     and      local     vendors
 increasing        use      of    residential    reentry      centers     and      home        confinement           expansions         of    existing          facilities   where
 infrastructure          permits acquisition         and renovation             of existing structures               and new prison construction                        as   funding

 permits
 See    also     eg Statement of Charles E Samuels Jr Director Federal Bureau of Prisons US Department                                                                  of Justice

 before      the   Committee on Homeland                Security       and Governmental              Affairs United           States    Senate       for a Hearing Entitled

 Oversight of the           Bureau of Prisons           First     Hand Accounts          of Challenges             Facing the Federal Prison System                      August 4
 2015       available       at httpswwwbopgovresourcesnewspclfs080415writtenstatementpclf                                                       at   p 3        We began          to


 rely  upon private corrections to provide additional capacity to help maintain safety and security due to crowding
 concerns    In 1997  Congress required the Bureau to privatize one of our newly built facilities   Taft Correctional

 Institution  As a result we began being funded for additional private prison capacity which we used primarily to
 house       low   security       criminal     aliens   Following         the   mandate         that    the   Bureau        house the       District       of   Columbia       DC
 Superior Court offenders               we used private           prison bedspace for many of these offenders                          allowing       them to remain close
 to the many reentry and social services available in                              DC
                                                         While we would prefer to house all federal                                                                 offenders     in

 Bureau operated facilities we have appreciated the support of the private prison industry to provide                                                               low security

 capacity in the wake of our population growth




                                                                           CONFIDENTIAL                                                                                 Page 4
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               B                Federal Agencies                  Commitment to Cost Effectiveness



  11           Federal           agencies         must respond to a variety of legal considerations                                        surrounding          the costs of


 the      goods and services they                          deliver          To      ensure          compliance              with    these    requirements federal


 agencies          are held           accountable           for    the      manner            in    which        they      manage their budget and achieve


 program         objectives                Indeed          federal       agencies             are subject            to    the   Government        Performance                and


 Results       Act which                  requires       them     to   prepare           multiyear strategic                     plans describing          missions and


 goals and laying out how they might be achieved                                                    as   well as annual            program performance                reports


 to    review      progress toward                     annual performance                    goals9        In addition            federal    agencies          are overseen


 by      the    Office             of     Management               and      Budget              OMB                   which        relies    on    the         Government


 Accountability                  Offices         GAO          audits and evaluations                           of federal        agencies       The      GAO regularly

 conducts          performance               audits        of agencies             including             the     BOP to support the US                         Congress        in



 meeting         its         constitutional            responsibilities             and        help       improve the             performance           and      ensure       the


 accountability                 of the federal government                    for the benefit of the American                          people             Both the        OMB
 and      GAO have                developed guidelines                   that      underscore             the     importance         of conducting              cost benefit


 analyses12                 For example according                      to   the      OMBs guidelines federal agencies                                  should       consider


 whether           a        capital       expenditure         is       cost beneficial                     before          its   undertaking           which        involves


 considering                possible alternatives             including service contracts                             and selecting those          that offer the          best


 value1314




 9
      United   States        Government          Accountability        Office      GAO Cost Estimating and Assessment Guide Best Practices for
 Developing        and Managing                  Program Costs Applied Research and Methods GAO 093 SP March
                                             Capital                                                                                                                      2009
 Chapter       3 p 26           See also Government Performance and Results Act Public Law 10362 August 3 1993
 io
       Executive        Office     of the President         of the United States                Office     of Management            and Budget     Circular No            A11
 Preparation           Submission and Execution of the Budget                                June   2015         Section     10 p 7
 11
       Umted States            Government         Accountability         Office         Performance            Auditing The Experiences                of the United      States

 Government             Accountability           Office     Statement       of J        Christopher       Mihm Managing             Director    Strategic       Issues    GAO
  13   868T     September 25 2013 Highlights
       See Executive            Office of the President           of the United States               Office      of Management         and Budget        Circular No          A
  11 Preparation Submission and Execution of the Budget                                      June 2015 Capital Programming Guide See also United
 States    Government               Accountability         Office        GAO            Cost Estimating and Assessment Guide Best Practices   for

 Developing  and Managing    Capital Program Costs Applied Research and Methods GA00935P                 March 2009
 While those guidelines are specific to the acquisition of capital assets they can be applied when alternatives involve

 pursuing service              contracts
 13
       Executive        Office     of the President         of the United States                Office     of Management            and Budget     Circular No            A11
 Preparation Submission and Execution of the Budget                                          June   2015         Capital Programming         Guide pp 12 15
 14
       In addition          Economy       Act     31   USC    §    15351536              which was passed             to   permit federal    agencies     to   procure    goods
 and services               from other     federal      agencies       touches          on    the   use   of private         contractors    and the cost         effectiveness

 imperative            It    stipulates   that   as part of the four basic              conditions        that   should     be met before      engaging        in inter
                                                                                                                                                                        agency
 transactions           a federal     agency      should   determine        that   it   cannot obtain          the   goods or services      at issue   as conveniently         or




                                                                             CONFIDENTIAL                                                                          Page   5

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  12         In defining and             expending                 its   budget            the   BOP         considers          both    the   US Department                       of


 Justice      D0J and                  its    own         strategic             objectives             which        includes        providing             costeffective

                         15 As outlined
 confinement                                            in its     mission statement                    the    BOP is responsible                  for the     custody and


 care     of federal         offenders        in    facilities                that    are    safe       humane           costefficient              and appropriately


 secure16           Indeed       as part of the            BOP FY 2015    s                      Budget Request                 Mr Charles Samuels Jr then

 director      of      the     BOP           stated        before             the      US         House            of    Representatives                 Committee                on


 Appropriations




             The      BOP      continues           to   strategically                assess current             and prospective               operations          to

             ensure     that     mission requirements                          are met           at   the    lowest      possible         cost     to   the    US
             taxpayer          The     BOP remains                   committed              to    acting as a sound               steward of valuable

             taxpayer         dollars          The        BOP             will       continue           to    seek       cost    avoidance              and     find

             efficiencies         throughout              the        agency            while          successfully         executing             our     mission
                                        17
             responsibilities



             C           CoreCivics Business                             and Relationship with the BOP


  13         During the Class Period                       CoreCivic was one of the nations                                       largest        owner of privatized

 correctional         and detention           facilities           and one of the largest prison operators                                in the        United     States

 As of January 1 2013 CoreCivic was                                           organized           as a Real          Estate Investment                  Trust     REIT
 specializing          in    owning          operating               and managing                     prisons      and other        correctional              facilities        and


 providing residential community reentry and prisoner                                                        transportation         services for governmental


 agencies19           CoreCivics             government                  partners consisted of federal                          state and local entities                        The




 cheaply      from a private          contractor         See       United      States      Government          Accountability          Office      Principles of Federal

 Appropriations       Law Office of the General Counsel                              3r1   ed vol 3 Washington                  DC September 2008                 Chapter         12
 p 29      See also   Economy         Act 31   USC             §   1535a4
 15
      US Department           of Justice       Federal         Prison         System       FY 2015           Performance        Budget     Congressional          Submission

 Federal    Prison System Buildings            and Facilities p 7
 16
      BOP Mission available            at httpswwwbopgovaboutagencyagencypillarsjsp                                                last   accessed       7292020            The

 BOP s mission statement is consistent with the DOJ s strategic                                       objectives    to   provide safe secure humane and
 costeffective      confinement        and transportation of federal detainees and inmates                                      United    States   Department          of

 Justice Fiscal Years         20142018         Strategic           Plan p 48
 17
       Statement    of Charles        E Samuels Jr Director of the Federal                                    Bureau     of Prisons       Before        the   US House of
 Representatives       Committee on Appropriations Subcommittee                                   on Commerce Justice Science and Related                              Agencies
 Federal    Bureau     of Prisons     FY 2015 Budget                Request          April   10 2014           p 1
 18
      Corrections Corporation of             America Corrections Corporation of America Form                                        10K for the fiscal year ended
 December      31 2015        filed                 p 5
                                      on February 25 2016
 19
      Corrections     Corporation of America Form 10K for the fiscal year ended December 31 2015 filed on February 25

 2016 p 5
 20
      See Corrections Corporation of America                       Form        10K for the fiscal years 20132016 Business Development




                                                                              CONFIDENTIAL                                                                         Page     6

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BOP        was one of the Companys federal partners alongside                                                 the United          States      Marshals         Service


USMS and US Immigration and Customs Enforcement ICE and                                                                              the    BOP accounted                 for


approximately                12 of CoreCivics revenues on average between 2011 and 2016 see Exhibit 1
During the Class Period CoreCivic housed                                         BOP inmates at five of its facilities21


14           CoreCivics                 relationship          with      the    BOP    is    governed         by contracts            that    are awarded upon


successful          completion            of a competitive               Request for Proposal               RFP              process    that enables          the   BOP

to   select    the most advantageous                          service offering             For example in a 2008                     RFP the BOP solicited
bids from any               organization              able to      manage and        operate        an existing correctional                  facility       including


faith based              and community based                       organizations22            The    solicitation        required          potential      offerors to


propose a price and describe                           how they planned to meet the technical                           requirements           of the contract23


Notably        it    specified          that    the    award would                  be made to the responsible offeror whose proposal


was the most advantageous                               to   the     Government


15           According             to    its   contracts        with the        BOP CoreCivic was principally to house a criminal
alien      population                of low           security        nonUS         citizen         adult     males with             6090          months      or        less



remaining to serve                   on     their      criminal         sentences25          As a result CoreCivics                     facilities        principally


housed        nonUS               citizen      criminal aliens whereas                     for    example low security                  facilities     operated by




21
     The    five     facilities      were           Adams     County         Corrections     Center    Northeast        Ohio     Correctional        Center         McRae
Correctional Facility              Eden Detention             Center Cibola County Corrections                  Center         See   Corrections      Corporation of
America Forms 10K and                     10Q for the fiscal years 20112016
22
     US Department               of Justice Federal           Bureau of Prisons CriminalAlien Requirement                        VIII       RFPPCC0012
materials April            292008        available      at   httpsbetasamgovoppf900f4355784f3c545fed8ca4461d324view            available

under      COVERTHRUCpclf                             DTHRU        Jpclf and         JTHRUM I note that this RFP culminated in a

contract    that    was awarded           to   CoreCivic for its         Adams County Corrections              Center See CoreCivic                Corrections

Corporation of America                  Announces        Contract       Award with Federal Bureau              of Prisons April            12009
23
     US Department               of Justice Federal           Bureau of Prisons CriminalAlien Requirement                        VIII       RFPPCC0012
materials April            292008        available      at   httpsbetasamgovoppf900f4355784f3c545fed8ca4461d324view                                           at


pp 199211            available       under     COVERTHRUCpdf DTHRU                     Jpclf and                       JTHRUM
24
     US      Department           of Justice          Federal      Bureau      of Prisons        Criminal Alien        Requirement          VIII     RFPPCC0012
materials          April     29      2008       available       at
                                                   httpsbetasamgovoppf900f4355784f3c545fed8ca4461d324view           at


pp 212215            available       under COVERTHRUCpodf              Jpclf and     DTHRU      The price evaluation   JTHRUM
factor     was described           as   follows        Prices proposed           for each     year of the      Base Period and Option Periods                      will    be

evaluated      in total           Award        is    based   on best value           See     p 215       The     non price       evaluation        factors    were        Past

Performance              Technical      Proposal        Environment           Notification       and Small Disadvantaged             Business       Utilization           The
solicitation       further    stipulates       that   Whe combined             non price evaluation         criteria   are   significantly    more important than

price      Price    becomes a major factor in award selection when other                            criteria   are   substantially      equal       See   p 213
25
        Facilities         and     Facility           Management             Contracts       20092016           CORECIVIC0000001191                            at        012
CORECIVIC0000692870                             at    703 CORECIVIC0001329544 at 389 CORECIVIC0002307547 at 326
CORECIVIC0003082321                            at    097 CORECIVIC0003791962 at 801 The population housed at the McRae

facility   was      to   ordinarily      be low security             adult   nonUS citizen males with 60 months or less remaining to serve on
their   sentence




                                                                             CONFIDENTIAL                                                                    Page    7

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                                                                   15713
the    BOP       principally    housed        US citizens                In the       Review        of the     Federal          Bureau         of Prisons


Monitoring          of Contract       Prisons issued by the Department                             of Justices        Office       of the       Inspector


General       OIG on August 11 2016 the OIG Report comparing                                                      private        facilities      to    select



BOP low security facilities                 the   BOP noted that as of January 2014 inmates incarcerated in private

facilities    were primarily nonUS                    citizens      with   721       percent from Mexico                while the         selected      BOP

institutions       had an average           of 118     percent       nonUS            citizens26



16           In exchange       for its      services     CoreCivic was contractually                         entitled      to   a guaranteed            fixed


payment the Monthly                 Operating         Price    or    MOP up                to   90 occupancy              for that   facility         and    in



addition      a fixed per diem payment                 the Fixed Incremental                    Unit Price or        FIUP            for   each inmate


housed       above the     90 occupancy

             D          Summary of Cost Savings                      Allegations



17          Plaintiff    claims      that    throughout            the   Class Period            Defendants       engaged            in    a   scheme        to



defraud and         made numerous materially false and misleading statements and omissions to investors

regarding        CoreCivic          s business         and operations                including     by   falsely      stating      that               iv the

outsourcing         of correctional           services        to    CoreCivic              resulted     in   significant         costs     savings          for



government          agencies        including the       BOP28            Plaintiff      references the         OIG Report            and claims             that



as the Review by the OIG concluded                          and other sources have shown costs are comparable                                        at best



with       BOP    facilities    and any           savings     result     not    from       efficiencies        but   from understaffing                     and


hiring      underqualified          staff    thus     contributing         to   the    serious     safety     and    security        issues at these


facilities29



18          More specifically             Plaintiff    alleges that CoreCivics                   cost comparison           disclosures were false


and misleading for at least the following                          three reasons




26
      OIG Report p 14
27
     See   eg Adams      Facility    Base Contract April 1 2009 CORECIVIC                         0000001191         at   008    In the    initial    contract

for the    McRae    facility   CCA was entitled to a fixed MOP of 95 of the facilitys                           occupancy         See     McRae       Facility

Base Contract May 15 2001 C0RECIVIC0002307547                                   at   320
28
     Consolidated    Complaint       ¶3
29
     Consolidated    Complaint       ¶117




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                                                        15714
       1   As the OIG Report                  identified          the   OIG was unable to conduct                          a direct   comparison         of the


           overall     costs of incarceration                   between BOP                institutions     and contract correctional             facilities


           in part    because          comparable data were not provided                              by private operators and the BOP3°


       2   Quantitative           comparisons              of the       BOP         s    per   diem     rate   to    house      inmates      compared          to



           CoreCivics            per     diem       rate       fails   to   account         for    costs    incurred       by the     BOP    in   providing


           monitoring and oversight                    of private prisons31



       3   In providing quantitative                  comparisons of the BOP s per diem                              rate to    CoreCivics per diem


           rate CoreCivic relied on an adjustment                                   to   increase the       BOP rate to account             for real estate


           related     costs32




19         I    also understand              that   Plaintiff          in    its   response to         interrogatories         from Defendants                has


summarized          its   cost    allegations         as        put simply                     despite Defendants               constant      refrain they


were not providing the same                     level      of quality while offering cost                      savings          Plaintiff    further states


that   there were         numerous           internally          and externally flagged problems                       in various      forms including


Notices        of Concern             multiple      deficiencies             including            crucial   services         repeat deficiencies              and


worse          deductions        for nonconformance                         and understaffing               which      were     due     in   large     part to


CoreCivics          artificial        cost   savings cheaper                       wages       worse benefits and more remote locations


not greater efficiency33


20         Based on        my review            of Plaintiffs               Complaint and interrogatory responses the challenged

statements include           both qualitative                  and quantitative             claims about       the   cost savings associated              with


the    services     CoreCivic provided                 to       the    BOP          Summaries of the alleged misrepresentations                               are


presented in Exhibits                  21     and    22          Because           these    qualitative      and quantitative           statements have


different      meanings        in this       context       I    will   evaluate          them separately in Sections                VI and VII




30
     Consolidated    Complaint         11187
31
     Consolidated    Complaint         11188
32
     Consolidated    Complaint         11188
33
     Plaintiffs   Objections      and Responses            to    Defendant         CoreCivic       Incs Second       Set    of Interrogatories    to   Plaintiff

May 1 2020 Response              to   Interrogatory     No 13 p 7




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                                                           15715
V             Empirical Research                    on Cost Effectiveness                    of Private Correctional            Facilities




             A             Overview of Cost Comparison Considerations



21            In evaluating         CoreCivics                statements        it   is   useful to consider the empirical studies that exist


on the privatization of correctional                            facilities       A broad set of literature addresses               cost comparisons


between private              and               or federal         correctional            facilities
                                    state                                                                 Many studies find that outsourcing

generates        cost      savings       and cost            efficiencies      for    governmental          agencies As would be expected

given      the complexity            in      measuring           and comparing              costs between      private       and public     correctional


facilities       however           some divergent               opinions       existoften along partisan lines36                   At the very least


cost    comparison           research          highlights at least four core                   reasons     why comparing          private    and public


correctional           facilities        costs     is    a    complex       endeavor          and why the        precise       measurement       of cost


savings       may vary based on the methodology                                 and assumptions employed


22           First         there    is       no     one        universally           accepted      methodology           for    comparing        costs

Methodologies               used    to    assess costs vary                study by study including               at   the    most basic levelthe


definition       of costs to compare                         Inherently        comparing costs across private and public correctional

facilities     requires making                 initial       assumptions that can have                  a significant impact on the outcome of


the    analysis39           Results therefore                 vary   substantially           depending      on the choice       of costs to measure




34
      McDonald         Douglas      et    al    Private        Prisons    in   the United      States     An Assessment       of Current   Practice       Abt
Associates   July 16 1998 pp 3537 Friedmann Alex Apples To Fish Public and Private Prison Cost
                 Inc
Comparisons Fordham Urban Law Journal 42 no 2 2014 pp 503567 Mumford Megan et al The Economics
of Private     Prisons Brookings               Institute       The Hamilton Project          2016
35
     See   eg Moore Adrian               T   Private Prisons             Quality Corrections      at a   Lower Cost Reason Public Policy Institute

Policy Study  No 240 1999 pp 1015 Hakim Simon and Erwin A Blackstone Prison Break A New Approach
to Public Cost and Safety Independent Policy Report June 2014 p 45 McDonald Alex et al Private Prisons
in the United States An Assessment of Current Practice Abt Associates Inc July 16 1998 pp 4445
36
     See   eg Friedmann Alex Apples To Fish Public and Private Prison Cost Comparisons Fordham Urban Law
Journal      42 no     2   2014 pp 503567                     Hakim Simon and Erwin              A Blackstone Prison Break A New Approach
to   Public Cost     and Safety Independent                   PolicyReport June 2014 p 9 There is much writing in both the popular
and professional literature on the perceived                      merits and disadvantages of contract prisons Many of these references

are   based   on hypothetical       or ideological            grounds
37
      Gaes    Gerald       G The         Current Status of Prison Privatization                 Research     on American Prisons          Selected   Works

August 2010 pp               147 at pp 1 5
           eg Moore Adrian T Private Prisons Quality Corrections
38
     See                                                                                          at a   Lower Cost Reason Public Policy Institute

Policy Study No 240 1999 pp 1112 Hakim Simon and Erwin A Blackstone Prison Break A New Approach
to Public Cost and Safety Independent Policy Report June 2014 p 14 Friedmann Alex Apples To Fish Public
and Private Prison Cost Comparisons Fordham Urban Law Journal 42 no 2 2014 pp 503567 at p 510
39
      McDonald         Douglas      et    al    Private        Prisons    in   the United      States     An Assessment       of Current   Practice       Abt
Associates   July 16 1998 pp 3537 Friedmann Alex Apples To Fish Public and Private
                 Inc                                                                                                                          Prison Cost

Comparisons Fordham Urban Law Journal 42 no 2 2014 pp 503567 at p 510




                                                                         CONFIDENTIAL                                                         Page   10

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                                                              15716
and methodology              employed Any evaluation                             of a cost comparison must look                                  at the      assumptions


and     definitions     employed            to   determine            whether they                are   reasonable and appropriate



23          Second      differences              in
                                                      age design management                              location         prison population                   and    security


needs       require    the        use    of assumption based                     cost         adjustments               to                    private            and      public
                                                                                                                              compare

facilities       Indeed           private        and public correctional                      facilities         that    do not share similar populations


have       different    staff      inmate             safety      and    public      security             needs               For example                BOP        facilities



generally      confine       US         citizens       and include           programs             that    are designed to teach inmates skills that


they    can use    when they              are released into the general population                                        By contrast            the    BOP primarily

houses      criminal alien populations                      that      are not necessarily                 expected           to    return to     US communities
or BOP custody           at private          correctional             facilities     and the BOP has                         instituted      different           contractual


requirements          with respect to programming at those                                    contract facilities



24          Third      evaluating           whether           outsourcing           is        more       effective           than    operating           a    correctional


facility     inhouse from a cost                       standpoint           requires one to consider                         different
                                                                                                                                            types of cost factors


As detailed       in   Exhibit           3 the costs that are relevant                            when      outsourcing              include        those        incurred      to



pay the contractor            and monitor its                 compliance          with the              contract          whereas those that are relevant


when managing            a correctional                facility       inhouse include                     the costs incurred                to   acquireconstruct


operate      and maintain the              facility




25          Finally     as   is    widely recognized                   in the    academic               literature that            addresses        the      issue of cost


comparisons           between           private         and    public        correctional                facilities          the    data     needed           to    establish



rigorous assumptions and perform a comparative                                      analysis of even certain categories of costs across


private and public            facilities         is   not readily available                        This was evident in the                    OIG Report which


           eg Moore Adrian T Private Prisons Quality Corrections
4°
     See                                                                                                 at a Lower       Cost Reason Public Policy Institute
Policy Study No 240 1999 pp 1112 Hakim Simon and Erwin A Blackstone Prison Break A New Approach
to Public Cost and Safety Independent Policy Report June 2014 p 14 Friedmann Alex Apples To Fish Public
and Private Prison Cost Comparisons Fordham Urban Law Journal 42 no 2 2014 pp 503567 at p 510
41
     Adrian T Moore          Private Prisons Quality                  Corrections        at   a   Lower Cost Reason Public Policy                         Institute       Policy

Study   No 240 1999 p 10
42
     McDonald     Douglas          and Carl Patten Jr Governments                             Management              of Private    Prisons       Abt Associates Inc

September      152003         at   pp 4344
43
     US     Government       Accountability             Office     Cost       of Prisons             Bureau       of Prisons         Needs    Better         Data   to    Assess

Alternatives     for   Acquiring          Low         and   Minimum          Security          Facilities          GAO 086            October       2007         available     at

httpwwwgaogovassets270267839pdf                                   p    11     U S Department                     of Justice        FY 2015        Performance             Budget
Congressional     Submission Federal Prison System                       Salaries   and Expenses                 at   p 55     See also     OIG Report pp 1113
44
     Mumford Megan           et   al The Economics                 of Private    Prisons Brookings                     Institute     The Hamilton Project 2016

p 4 In order to compare                 the cost of both public             and private           prisons   it   is    important     to   include      capital     costs of the




                                                                        CONFIDENTIAL                                                                               Page   11

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noted that the               OIG could not perform a comparison                                           of costs by function                    or department               across      the


BOP and its private contractors                                 due to data limitations


26             The      debate         over       cost      savings           in     the     context            of prison           outsourcing              is    well    publicized


numerous              news         articles      have       been        published              on        this     topic           and     it   has    been         at   the   center       of


congressional                  hearings                   Equity             analysts          following                CoreCivic              during         the       Class     Period


acknowledged                  this    debate discussed the methodological                                          challenges underlying cost comparisons


and recognized                 benefits and cost                 savings from privatization



               B              Numerous Factors Support                                     Private Correctional                          Facility Cost Effectiveness



27             The      literature         shows       that      there are three principal bases for the                                       cost    savings generated by


private         correctional              facilities             construction related                           costs      personnel              costs       and       private sector


competition               Private contractors                    have experience and expertise in correctional                                                facility     design and


construction                  In contrast              government                  corrections              agencies            typically         contract          the    design         and




prison       facility   and monitoring costs for the                    state      agency that oversees the contract with the prison In addition one
must account for differences                  in required        security      levels  and inmate needs which affect the expense of running a prison
Private      companies          are   not required         to    release      many         details       of their operations including                 details      on the cost of the
services       they     provide        which      limits    the    ability      to   make          comparisons The                Government          Accountability           Office     has

concluded         multiple times that the data                   are   not    sufficient       to    definitively        claim that        either type       of prison is      more cost
effective
45
     OIG Report p 11
46
     See     eg Volokh             Sasha      Dont End Federal                 Private       Prisons            The Washington Post August 19 2016 available                               at


httpswwwwashingtonpostcomnewsvolokhconspiracywp20160819dontendfederalprivateprisons           Oppel
Jr Richard          A
            Private Prisons Found to Offer Little in Savings New York Times May 18 2011 available at


httpswww              nytimescom20110519us19prisonshtml

475ee      Federal      Bureau        of Prisons      Hearing Before the Subcommittee                                  on Crime Terrorism Homeland Security and

Investigations          of the     Committee on the Judiciary House of Representatives                                          One Hundred          Thirteenth         Congress First
Session         Serial       No       11350           September          19        2013       available           at    httpswwwgovinfogovcontentpkgCHRG
113hhrg82847htmlCHRG113hhrg82847                                       htm         See      also    Hearings           before     the    Committee on the Judiciary United
States     Senate       One Hundred           Eleventh      Congress Second Session                             Part    8 Serial No J1114                   September 29 2010 and
November 17 2010 available                       at   httpswwwcongressgov111chrgshrg66817CHRG111shrg66817htm
48
      Opportunities           for Growth          Reiterate       Buy SunTrust                 Robinson           Humphrey              May 23 2011               The report identified
the    following        reasons       why     effectiveness            studies       may     understate           the benefits          of privatization   1 Often do                     not

consider       the positive impact of tax revenue                       to   the   State       private          operators       pay taxes         2 Often do            not consider      the

total    costs of public           pension       benefits       or healthcare             because        they    are difficult      to   quantify      It    is   our view    that   public

pension       benefits       are   often   higher than           private      operators             3 Most              studies    are adjusted       for factors         such   as age    of

facilities      oldest       facilities    are    often
                                                     public   but building newer more efficient and well maintained facilities   is a

benefit of privatization               that   should be included                     4
                                                                      There is evidence of greater efficiency less escapes     lower

violence        etc with        private    prisons          5 The            time    it    takes    to   build a       facility    is   shorter   with privatization             allowing
for   alleviation overcrowding sooner rather than later also prevents large capital outlays by the States in the near
                        in

term ability to manage cash flow See also Corrections Future Is Solid Despite FL Decision SunTrust Robinson
Humphrey February 172012 Positive on Prison REITs Were Dancin to the Jailhouse Rock Canaccord Genuity
July     13 2015 pp 89




                                                                                CONFIDENTIAL                                                                                  Page   12

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                                                                    15718
construction            to   other third party entities Private contractors                          are typically more nimble and better


positioned         to   build       new      correctional      facilities   faster      and cheaper       than government             agencies             In


addition         private correctional             facilities    are not limited by location               and reduce construction               costs by


locating       certain        facilities     in less expensive        areas51      As a result          substantial     savings in construction


cost       and     time       to    build     a   new    correctional        facility     can      be   achieved       through        private       prison


operators52




28           Additionally private correctional                      facilities    reduce     overall      personnel         costs    Approximately

twothirds of correctional                     facilities    operational       costs are devoted           to   personne153          As noted above

                                                  tend to be
private correctional                 facilities
                                                                  newer more modern facilities                    located in lower cost areas


due     to   the   flexibility         of site choice        by private prison            operators       greater      access to capital           via    the


capital      markets and lower budgetary and regulatory hurdles                                    in   order to approve          new      construction


of a facility                As a result private           correctional      facilities    can reduce       labor costs in numerous                  ways

including          through          a newer more               efficiently     designed      facilities        that   require       less   staff    due    to



improved           design capabilities             eg improved              sight lines     and technology             that    allow inmates to be


monitored with fewer correctional                          personnel        b    reducing        administrative         staffing     by avoiding the


larger bureaucratic                  structures    of government            correctional        departments           and    c   lowering the         cost


per employee including by limiting pension costs55




49
     United    States    Government          Accountability    Office    Prison Construction            Clear Communication of the           Accuracy      of

Cost Estimates      and Project Changes is Needed Report to the Subcommittee on Commerce Justice                                            Science       and
Related      Agencies Committee on Appropriations                    US
                                                      Senate GA008634 May 2008 at p 3
50
     See   Kish    Richard         J and Amy F Lipton         Do Private Prisons Really Offer Savings Compared With Their Public
Counterparts            Institute           12013 pp 93108 at p 95
                                      ofEconomic     Affairs 33     no

   See eg Hakim Simon and Erwin A Blackstone Prison Break
51
                                                          A New Approach                                                to    Public Cost    and Safety

Independent Policy Report June 2014 pp 910

           eg Moore Adrian T Private Prisons Quality Corrections
52
     See                                                         a Lower Cost Reason Public Policy
                                                                                            at                                                     Institute

Policy Study   No 240 1999 pp 46 Hakim Simon and Erwin A Blackstone Prison Break A New Approach                                                            to

Public Cost        and Safety Independent            Policy    Report June       2014 pp 910 2223 27
53
     Moore       Adrian      T     Private Prisons      Quality Corrections       at   a Lower     Cost Reason Public Policy Institute               Policy

Study      No 240 1999 p 16
           eg Moore Adrian T Private Prisons Quality Corrections
54
     See                                                                                    at a   Lower Cost Reason Public Policy Institute

Policy Study       No        240   1999 pp 46 Hakim              Simon and Erwin         A Blackstone Prison Break A New Approach                          to

Public Cost        and Safety Independent            Policy    Report June       2014 pp 910 2223 27
55
     Moore       Adrian      T     Private Prisons      Quality Corrections       at   a Lower     Cost Reason Public Policy Institute               Policy

Study No 240 1999 pp 1617 Hakim Simon and Erwin A Blackstone Prison Break A New Approach to Public
Cost and Safety Independent Policy Report June 2014 pp 910 Kish Richard J and Amy F Lipton Do Private
Prisons      Really Offer          Savings    Compared     With Their Public Counterparts                Institute    of Economic     Affairs      33 no       1



2013 pp 93108




                                                                    CONFIDENTIAL                                                             Page    13

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                                                             15719
29          Finally      an often cited economic                    driver of lower costs              is   competition          in   the private          sector


Competition among private prison firms to win and keep                                               government           contracts       exerts pressure


on the costs        of such       contracts56                As discussed in Section                 IVB the BOP                 s   prison      outsourcing


contracts        are     awarded            after       an    RFP    process         to     the      organization           that       made         the        most

advantageous            proposal




VI          Evaluation          of CoreCivics                 Quantification         of Its      Cost Savings          to   the       BOP

30          Plaintiff     claims that             CoreCivic quoted               specific    percentages            of savings that            it   claimed          to



generate        for the       BOP and yet knew                       that     these       comparisons             were      at   best      misleading57

CoreCivic acknowledged                      and        identified that     its   claims      about cost          savings were based                 on     certain



assumptions about              how to define and measure cost                       effectiveness            or cost      savings         As explained               in



this    section        these    assumptions              were    clearly     articulated            were     consistent          with     findings             in   the


literature that        evaluates       the relative           cost of the private          prison industry           and were conservative



            A           CoreCivics                 Cost       Comparisons            Relied          on     Publicly        Available               Data            and

                        Disclosed           Its    Sources



31          The quantitative             disclosures          made by CoreCivic are summarized                             in    Exhibit       21 Two of
the    statements        identified         by      Plaintiff    reference        cost     savings        estimates       contained            in   a publicly


available       study     published               by    two    Temple       University           economists                 In       particular       Plaintiff



identifies      a statement            in   CoreCivics           2013      Analyst         Day      presentation          that       CoreCivic provides


lainnual        costs    savings        of        12 or more substantiated by Temple University study 59                                             60
                                                                                                                                                               In the




           eg Moore Adrian T Private Prisons Quality Corrections
56
     See                                                                                      at a   Lower Cost Reason Public Policy Institute

Policy Study     No     240    1999 p 15 Undeniably the key to the lower costs of the private                                    sector   is
                                                                                                                                               competition           In

order to win contractsand              keep thema firm must be efficient Rising costs or cuts that lead to poor quality would
soon take a firm to where         it   could win no more contracts
57
     Consolidated      Complaint       11186

     Hakim Simon and Erwin A Blackstone Prison Break
58
                                                                                  A New Approach            to   Public Cost     and Safety Independent

Policy     Report June    2014 p 4
59
     Consolidated      Complaint       11153       referencing   CCA Americas              Leader    Partnership     Corrections Presentation                   2013
Analyst Day Durable           Earnings      and Significant Growth Potential                October       2 2013 p 15
60
     Consolidated      Complaint ¶ 155             The other statement      identified     by Plaintiff was not a statement contained                     in   a    CCA
press release or filing         Instead      it   was a Times Free Press         article   discussing       a statewide    campaign       against     CoreCivic

started         ACLU The article included a statement that Citing Temple University economists CoreCivic
           by the
company    spokesman Jonathan Burns said in a prepared statement that forprofit prisons save taxpayers 17 percent in
corrections  costs Brogdon Louis Critics Point Finger at CoreCivic For Profit Prison Operator Taken to Task for

Campaign Giving Operations Times Free Press May                              5 2014




                                                                    CONFIDENTIAL                                                                    Page 14
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                                                           15720
presentation            CoreCivic identified the source for the estimate and disclosed that the study received


funding       by members of the private corrections                                 industry 61            CoreCivic reported the                    results   of and

made a clear             reference to          a publicly            available        study          The    study outlines              the    methodology              and


assumptions             the     two       Temple          University          economists             employed          to      arrive     at   the    cost     savings


estimate62            Therefore I will focus the remainder of this section on the other quantitative                                                     statements


identified       by     Plaintiff




32           The       other category          of quantitative               cost    comparison            statements identified by Plaintiff                           are


comparisons             that    CoreCivic provided                   of operational                cost    savings           between CoreCivic and the


BOP which appeared                        in each    quarterly       investor presentation from 3Q2014                               to   1Q 2016 CoreCivic

compared the             BOP         s   reported daily operating                 cost per inmate            per diem to CoreCivics                            average


per diem         revenue             across   all        of its   facilities       BOP and non BOP                            estimating        operational             cost


savings that ranged between                         9       and    18       for   3Q 2014 to 1Q 2016                    as     shown       in Exhibit        21

33           To draw comparisons between the BOP s operating                                              costs   and        its
                                                                                                                                   per diem CoreCivic used


its    own    publicly         disclosed       data and the data                  publicly released by the                    BOP63           These data sources


were referenced               in the      footnotes         of the published           cost comparisons
                                                                                                                        64
                                                                                                                               The   BOP        s   operating           cost


per     day was derived from the                          limited data released by the                     BOP on its per diem costs and annual

cost of operating              its    correctional          facilities      and contracting            out to privately operated institutions65




61
      CCA Americas Leader Partnership                      Corrections      Presentation 2013 Analyst Day Durable                         Earnings    and Significant
Growth Potential              October      22013 p 15 Temple Universitys Center for Competitive Government                                             in   April   2013
Contracted      Prisons       Cut Costs without             Sacrificing Quality             This   study received       funding      by members         of the private

corrections industry citing the working paper version of the June 2014 study See Hakim Simon and Erwin                                                                    A
Blackstone Cost Analysis of Public and Contractor Operated Prisons April 292013 Hakim Simon and Erwin                                                                     A
Blackstone Prison Break A New Approach to Public Cost and Safety Independent Policy Report June 2014

      Hakim Simon and Erwin A Blackstone Prison Break
62
                                                                                       A New Approach             to   Public Cost        and Safety Independent

Policy    Report June          2014
63
      See Deposition of Bill             Dalius February 262020               Dalius Deposition pp 65156814
64
      Corrections      Corporation of America Form           10K and 10Q for the fiscal years 20112016 CCA Americas                                                Leader

Partnership      Corrections Investor           Presentations  20142016 See also Dalius Deposition pp 6515689
65
      Federal Prison System Per Capita Costs                  FY 20092017             The BOP reports average annual per capita costs by security
classification        level   both inclusive        and exclusive        of support    costs allocated overhead costs See      Federal Prison   eg
System Per Capita Costs FY 2015 February 112016                                      Within the BOP cost accounting system the term support
costs refers to a set of common or joint expenditures                                that are budgeted  and tracked centrally The four major
categories     of   BOP       support     costs are training regional              office    costs   national   programs and central office costs See

Nelson       Julianne         Competition           in    Corrections        Comparing Public              and Private Sector Operations The CNA
Corporation         December 2005 pp 2325                         In the   BOP per capita cost sheets support costs are allocated                       across prison

security     levels    as   a percent     of annual       obligations




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                                                             15721
34            CoreCivics              average owned per diem figures were consistent with the average                                                               per diem


revenue        figures presented in               its    SEC filings                     CoreCivic used company wide average                                        per diem


for its      SEC filingsthe per diem rates                         for       all    of the facilities           it   runs for government                        partners       But


as    explained        in   Section       VI C below it would have                           reported even greater cost                      savings estimates if


it    had     based     its      cost   savings        calculation           on the         per      diem revenue              it   earned            for       BOP contract

facilities         only



              B             CoreCivics Real Estate Cost Adjustment Was Reasonable


35            In calculating            the   per diem          cost    differential           between the             BOP and             CoreCivic               CoreCivic

took        into   account          an estimate of the           real estate          costs incurred             by the    BOP             The approach                 used by


the     Company             was       appropriate        for at        least       the    following           two      reasons         First               as    discussed       in



Section        V above              land construction             and maintenance expenditures                             together         constitute             an area in


which         governments             can realize        significant          cost       savings through               outsourcing               Second            adding        an


estimate           of real estate        costs    to    the     BOP      s   per diem           costs        made the         BOP      s   operating              costs   more


comparable            to    the per diem cost             of outsourcing                 prison        operations        to    CoreCivic                   Indeed       besides


not including support costs such as administrative overhead                                                    legal    and pension expenses67                          the per


diem        costs    reported by the            BOP do not include                   the costs         it    incurs to build or maintain correctional


facilities            In contrast         CoreCivics             per diem price                is    an all in rate            that   is   meant to compensate

CoreCivic            for      all     variable    and          fixed    expenses               including             capital        outlaysin                   other   words

CoreCivics per diem revenue                        is    similar to an analysis that attempts to answer the question of                                                   but

for the private prison industry what would the total cost be to the government                                                                        It   was reasonable




66
      Compare        eg CCA Americas Leader Partnership                             Corrections         First Quarter 2016            Investor         Presentation            May
2016 p 13 to Corrections                 Corporation of America               Form 10Q              for the quarterly period          ended March 31 2016                      filed

on May 52016 p 33
67
      See   C0RECIVIC1327566593                     at   573      See also          McDonald          Douglas        C and Kenneth         Carlson Contracting                   for

Imprisonment in the Federal               Prison System           Cost       and Performance            of the Privately Operated                Taft Correctional

Institution         Abt Associates Inc October 1 2005                          at   p 40
68
      The per diem costs reported by the BOP do not include Buildings and Facilities costs which include new prison

construction    modernization and repairs costs above $10000   See United States Government   Accountability Office
Federal Bureau of Prisons Methods                       for Estimating Incarceration                   and Community Corrections Costs and Results of
the Elderly Offender             Pilot Enclosure         I Briefing for Congressional                   Requesters GAO 12807R Enclosure I p 17
69
     Deposition of Patrick            Swindle     30b6 January 9 2019 Swindle 30b6 Deposition pp 90239261 So
when        BOP look        at   individual per   diem level youve got                   capital     costs that are excluded          So    is   it   purely the operating

per   diem for that facility           We     include    all   of those plus         capital    recovery       in  ours So our cost structure assumes the
recovery       of capital           So we have   our operating         cost    and our capital              recovery embedded in our per diem See also
Dalius Deposition             pp 6515689           85258714




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                                                              15722
for CoreCivic to adjust the                      BOP         s   per diem costs                for real estate           costs to approximate                 what they

would be          if   they reflected         the full           costs       of operating         a correctional            facility         which       is   especially


true given         that   the    BOP     s   construction               and maintenance                 costs    have been increasing                    As shown in

Exhibit          4 data     on the      actual        costs       incurred            by the   BOP between                1998 and 2015 for new prison

construction            show that the agencys                     average             construction       costs per diem have             risen      since      1998 and


are similar to the amount of CoreCivic                                   s   real estate       adjustment


36           CoreCivic disclosed                    that   it    estimated the             BOP      s   real    estate    costs to      be   $1200$2000                    per


                  The     real    estate      adjustment               that          CoreCivic used            as   part     of   its   cost      comparison              was

conservatively            based        on the minimum of the range or $1200                                         per    diem The              calculation         of this


estimate was reasonable as                     it   reflected the               Companys estimate of the average                         total      cost to the       BOP

per bed of building a new correctional                                 facility        $175$250           million per         1000 beds             amortized          over


the estimated useful life of a prison                                  Moreover CoreCivics                      real estate       adjustment         was consistent

with       the    average        per    diem        construction                cost     incurred       by the      BOP          during the        tenyear           period


spanning          20062015             see Exhibit 473 and was                            in line    with estimates of prison construction                            costs


that   exist in the        research        literature            on public and private correctional                          facilities            Finally the real


estate      adjustment            was    consistent              with           and      conservative           relative     to     estimates         presented            by

CoreCivic in an internal                   analysis comparing                         private prison        per diem rates with those of the                         BOP

According           to that      analysis the          BOP         s   estimated real estate               cost per day was             $1953         in 201175




70
     A 2012 GAO report indicates               that    according                to   BOP officials      reported    total   daily costs do not represent             the   full

cost of operating         BOP facilities            and specifically            total daily costs       do not include       construction         MR
                                                                                                                                              maintenance
     repairs      or depreciation             See     United           States        Government     Accountability        Office Federal Bureau of Prisons
Methods      for Estimating Incarceration                  and Community Corrections                    Costs   and Results       of the Elderly Offender             Pilot
Enclosure        I Briefing for Congressional               Requesters               GAO 12807R         July 27     2012     Enclosure       I    p 18
71
     See   eg CCA Americas Leader Partnership                                Corrections        First Quarter 2016           Investor   Presentation           May 2016
p    13
72
     Swindle       30b6 Deposition p 28814 And BOP is building                                             at   175000      to   250000      to     Letcher     County is
over   300000 dollars a bed                  the capital         win is a meaningful cost savings
73
     While the average per diem construction cost incurred by the BOP between 1998 and 2015 is $1139                                                          that   average
rises to  $1674 when considering the 20062015 period and $1750 when focusing on 20112015

  Hakim Simon and Erwin A Blackstone Prison Break
74
                                                                                           A New Approach           to   Public Cost    and Safety Independent

Policy Report June 2014 p 26
75
     See Deposition of Patrick           Swindle February 21 2020 Deposition Exhibit 300 C0RECIVIC1327565593                                                               at

572




                                                                             CONFIDENTIAL                                                                     Page   17

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                                                            15723
           C              CoreCivics                  Per      Diem             Cost       Savings             Estimates              Were         Reasonable                    and

                          Conservative



37         The observations                  that     I   have derived from analyzing CoreCivics                                       actual      per diem revenues


from     BOP contracts                are    consistent            with CoreCivics                    quantitative            assertions of cost              savings             As

reflected        in   Exhibit         5 throughout                 the    relevant        period        the    average         per diem           cost   to   the     BOP          of


contracting           with      CoreCivic was lower than the per diem cost                                             it   incurred        to   operate      its    own low

                                  6
security        facilities            Also       as       shown      in    Exhibit         5 during            the     same period               each    of CoreCivics


BOP contract             facilities        reported lower per diem                         revenues            than the        BOPs per diem cost for low
                                77
security        facilities




38         Further           CoreCivics               cost    comparisons                were conservative                    for several         reasons            First the


BOP represented only 12 of CoreCivics                                           revenue         on average             between 2011 and 2016 while                           35
was     attributable         to      ICE and      the      USMS 45 was derived from contracts with state agencies                                                                and


8       from other customers see Exhibit                                 1 As shown                   in Exhibit            6 the per diem revenue                   used        as   a


basis for CoreCivics                    average owned per diem in the cost comparisons was higher than the per

diem revenue             CoreCivic received                    on average                for    its   BOP contracted                 facilities          Had CoreCivic

based     its     cost    savings calculation                  on the per diem revenue                            it   earned       for BOP contract                 facilities



alone      it     would         have       reported          even        greater         cost     savings          estimates            This       demonstrates                  that



CoreCivics               estimates          were          conservative               and        reflected          the       fact     that       CoreCivic           received


comparatively             lower         rates    from        its    BOP         contracts         than        from contracts with                  other      government


partners



39         Second            while the          BOP reports its per diem operating                                     costs     both inclusive            and exclusive


of support costs               CoreCivics             cost comparisons                   appear        to    be based on the per diem costs exclusive


of support            costs78                         costs    include           administrative overhead                                                      and payroll
                                      Support                                                                                       legal    expenses




76
     Including      support     costs     and adjusting for real            estate   costs for         BOP facilities          While there        is   variation over        time
these   results     generally hold even without               adjusting for real           estate      costs and without adjusting for support                      costs
77
     Including       support      costs    and adjusting for             real   estate    costs       for   BOP     facilities      and estimated        support       costs      for

CoreCivic       s   BOP contracted facilities
78
     For example the Q3 2014                 and Q4 2014 investor presentations                             report a per      diem for the BOP of $7300                     which

appears   to reflect  BOP s per diem for all security classifications excluding support costs of $7303 for FY 2013
                          the

Compare         eg CCA Americas Leader Partnership Corrections Fourth Quarter 2014 Investor Presentation
February 2015          p 11 to Federal Prison System Per Capita Costs FY 2013                                          dated December            20 2013




                                                                           CONFIDENTIAL                                                                             Page    18

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                                                              15724
expenses and                       such costs             are covered         by the all                in contract                rate that        is    meant           to   compensate

CoreCivic for                  all     variable           and fixed expenses                          Thus CoreCivic                     s   choice         of source                  data         was

conservative                  An alternative less conservative                                 yet      still    appropriate             comparison would utilize the


average         per diem               cost         for low        security      BOP          facilities          inclusive           of support                costs          Indeed               had


CoreCivic             relied         on the          BOP      s    low    security       per diem               costs      inclusive            of support costs                        it    would


have estimated even greater cost savings relative                                                to     the     BOP8081

40            Finally              the    context            in    which         BOP          operates            correctional               facilities            and         manages               its




population             levels        further lend support to CoreCivics                                   quantitative                statements about cost savings to


the    BOP           While prison populations                            declined during the Class Period overcrowding                                                    increased until


2013 and remained an issue for the                                    BOP In addition as discussed by CoreCivic during the Class
Period




79
  See C0RECIVIC1327566593         at 573 See also McDonald Douglas     and Kenneth Carlson Contracting for                     C
Imprisonment in the Federal Prison System   Cost and Performance of the Privately Operated Taft Correctional

Institution Abt Associates Inc October 1 2005 at p 40
80
      Had    CoreCivic         relied    on the BOP s low security                 per diem costs inclusive                     of support         costs    it    would have               estimated

its   cost savings       BOP per diem costs of $7503 for FY 2013 instead of $7300 and $7788 for FY 2014
                             relative     to

instead of $7600  See Federal Prison System Per Capita Costs FY 2013 dated December 20 2013 Federal Prison

System Per Capita Costs FY 2014 dated December 19 2014

811 understand              that     Plaintiff      claims    that    contract                         and oversight            costs should            also     have been considered
                                                                                  monitoring

However         it    is    reasonable         not   to    include    oversight        costs    that    are     incurred       by federal          agencies         such       as    the     OIG      in


comparisons           of costs across the                 BOP and private         prisons because               they     are   independent          bodies         whose costs are kept

separate      from the agencies they oversee                         Indeed the OIG is an independent                          entity   within the DOJ that reports                           directly

to    both the Attorney              General         and Congress          To preserve          its
                                                                                                       independence             its
                                                                                                                                      budget       appropriations are maintained

separately      from that of the DOJs other agencies                               The OIG            is in     charge    of auditing and investigating                        all    complaints

of misconduct              pertaining to a multiplicity                  of DOJ agencies              including the        FBI USMS BOP and Bureau                                   of Alcohol

Tobacco        Firearms            and Explosives            ATF among others                    Given the number of agencies                            that    fall    under       its     purview
even if its costs were to be allocated  BOP on a per diem per inmate basis the resulting amount would likely be
                                                              to   the

negligible For context in 2014 the OIG s enacted budget appropriations were     of that of the BOP and 04 of                           1
the DOJs discretionary federal budget See Office of the Inspector General OIG FY 2015 Budget Request At A

Glance        httpswwwjusticegovsitesdefaultfilesjmdlegacy20131118oigpodf                                                                     U      S     Department                 of      Justice

Summary                                  of                          Budget                            Authority                              by                           Appropriation
httpswww justicegovsitesdefaultfilesjmdlegacy20140526bapclf                                                                    As      for    the        BOP s           specific            contract

monitoring           costs     they      are    fixed overhead           costs   that    are     not    likely     to   vary for marginal changes                         in   private         prison

contracting          because these monitoring functions                       cover     all    private     contracts           Further       the   literature that          quantifies these

costs suggest              an increase         to   the cost of outsourcing             of approximately                 195225 of                      total     estimated           contracting

costs       Accordingly            none of the conclusions                 regarding cost             savings     would be            altered      had these been included                           See

McDonald             Douglas         C and Kenneth            Carlson Contracting                 for Imprisonment                 in the    Federal Prison System                           Cost    and

Performance            of the Privately Operated Taft Correctional Institution                                          Abt Associates Inc October                             1 2005           at   pp
15 20         See also        Nelson Julianne Competition                         in   Corrections              Comparing Public              and Private               Sector      Operations
The    CNA Corporation December 2005 p 23
82
      See   CORECIVIC1224206 Dalius Deposition                                     p 982125                   U S Department                 of Justice          FY 2017 Performance
Budget       Congressional             Submission Federal Prison System Buildings                                 and Facilities at p               5




                                                                                 CONFIDENTIAL                                                                                        Page      19

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                                                                    15725
              It    is    important to                note           that   as     the            rate      of overcrowding                     and the       BOP         s    own
              facilities             decline       sic          the     average           cost         to      house       an offender            in    a   BOP operated
              facility              per    day        continues              to     increase                which           only      improves              CCA       s       value

              proposition to                 the BOP




41            Specifically                 under the             formulas provided                             in   the     BOP       contracts             the   BOP          s     per capita


outsourcing              costs        will   be lower if the BOP                         fully      utilizes the             contracted           capacity than if                 it    does not


Exhibit            71    illustrates           that       the    per diem               cost      to      the       BOP      varies     substantially             depending                   on the

extent       to     which            the     BOP          chooses           to     utilize         the      available           contracted             capacity       at       CoreCivic              s




facilities




42            Similarly even                      though         overcrowding                     of its       own       facilities      is     likely      not in the             BOP        s   best


interest the             mathematical                 result          of overcrowding                       is   that     the   BOP         s    per capita        costs           decrease         as



overcrowding                       worsens        because             fixed       and overhead                      costs      are   allocated           across       a larger inmate


population                     Thus as shown in Exhibit                                 72 the BOP                   s   per diem costs               are negatively                correlated


at least in part                   with the extent to which                       its   correctional                facilities       are overcrowded                  Consistent with


this    finding           an internal                 comparison                 of private               prison         and    BOP         per       diem    rates       conducted                by

CoreCivic                in        2011      noted         that        overcrowding                       at     BOP         low      security           facilities           skewed              cost


comparisons                   and      made        the         BOP whose                   facilities               have     no      firm capacity                cap         appear           more


operationally                  efficient          than     the        private           sector         whose             capacity      is       contractually         capped                      For


example             in    FY 2014 BOP                      correctional                  facilities            operated         at    an average             occupancy                   of   137
whereas CoreCivics average                                     compensated occupancy                                in that     year for its          BOP contracted                     facilities



was approximately 10786




83
      Corrections Corp                       NAREIT s Investor Forum June 52014
                                      of America          at   REITWeek

     Hakim Simon and Erwin A Blackstone Prison Break A New Approach to Public Cost and Safety
84
                                                                                                                                                                                    Independent

Policy      Report June 2014                  p 29 As prisons become more overcrowded the lower marginal cost of each additional
inmate      drives       down        the   facility   per inmate            average       cost      Because          state   run prisons are much more likely                            to   operate
under       overcrowded              conditions      for example California the average per inmate cost is understated compared to
private     facilities         operated      at   or even below capacity   Further cost comparisons would tend to be biased against

private     facilities        if   their utilization      rates      were lower than public facilities                          See also Deposition of Cameron                           Hopewell
January      17 2020 pp 60146111                               Hopewell Deposition                     Exhibit       179 CORECIVIC1021829891                                  at   840
85
      See   C0RECIVIC1327566593                                 at   570      BOP         fills     its   Low       Security      facilities     at   greater than 150 of capacity
thus enjoying greater                 operating       efficiencies          than the private              sector     which is limited to              115 of capacity
86
      U S Department                   of Justice         FY 2017           Performance             Budget          Congressional           Submission Federal                Prison          System
Buildings          and Facilities at p                5    Corrections            Corporation of
                                                               America Supplemental Financial Information for the

Quarters Ended December 31 2013 March 31 2014 June 30 2014 and September 2014 The BOP s FY2014 spans
from the fourth quarter of 2013 through the third quarter of 2014 CoreCivics average compensated occupancy for
FY 2014        using BOPs fiscal year period of                                  107 represents the weighted                         average       compensated          occupancy              across

the   five facilities          over the four quarters based                      on their      stated       design       capacity




                                                                                    CONFIDENTIAL                                                                                        Page 20
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                                                                    15726
43          In   summary             the   approach             CoreCivic followed                  in   comparing          its      per diem revenue             to   the


per diem costs reported by the                          BOP for low security prisons is consistent with the underlying cost

and revenue         data and conservative given the manner                                       in   which the           BOP accounts            for    support and


real estate      costs




VII         Evaluation             of CoreCivics                General Cost Savings Statements


44          CoreCivic made cost related                              statements           that    are       supported       by the       available         published


research and           its   own     internal           metrics          When read in the context                    of available        published         literature



CoreCivics          statements             used         specific     cost       terms     and appropriately                qualified      its    statements        such


that    they     did    not    guarantee            an absolute             cost    savings         under        any      and   all    possible        assumptions


methodologies or calculations                                These statements were supported and reasonable



45          Plaintiff        alleges that           contrary to their representations                                to   investors defendants               knew        or


recklessly       disregarded                 that        CoreCivic              did not create           cost    savings for the         BOP87             However

Plaintiff      does not define or explain                       what       is    meant by create                cost savings            and does not point to


any     particular           methodology                or   data    that       would       serve      to    evaluate       that      claim        To      the    extent


Plaintiffs        allegations         regarding              CoreCivics           qualitative         cost      savings     statements are based                  on the

quantitative        cost comparisons                    CoreCivic disclosed                    such statements are addressed                      in    Section    VI


46          The     qualitative            cost     statements            made by CoreCivic                     in   connection         with       the     cost   of its


services were statements that did not constitute                                   guarantees            that CoreCivics              services     generated           cost


savings        under         any     and     all        possible         assumptions             methodologies                  or    calculations                These


statements were               not    direct        comparisons             of total       costs       across     different        service       delivery models


Rather CoreCivic used various cost related terms that in the context of cost comparison                                                                    literature



do not all have a single definition                           that   is   identical       to   create cost savings


47          The alleged qualitative                      misrepresentations               made by CoreCivic in connection                              with the cost


of its     services          which    are presented                 in   Exhibit        22 can be broadly categorized as follows                                        1
descriptions        of a competitive                     cost   structure          that   provides          economies of scale                    2      descriptions




87
     Consolidated      Complaint       ¶11
88
     See Exhibit    21
89
     See   eg Consolidated            Complaint ¶123             Our industry benefits                from significant economies                of scale    resulting in
lower operating        costs per inmate            as   occupancy        rates   increase      We believe we have been successful                   in increasing       the




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                                                            15727
of CoreCivics               services     as    a cost            control     solution9°              3     descriptions               of CoreCivics                services as a


costeffective               alternative91             4          references to cost                    efficiency92               5   varied         descriptions             of cost


savings         including operational                 cost         savings           shortterm savings                      and longterm savings and                                  6
description          of a compelling value                        proposition                     The terms cost savings cost effectiveness


cost efficiency                   competitive               cost     structure               cost control                   and value             proposition convey


CoreCivics             opinions       regarding             the     relative         cost         of its   services          in    the     context          of private            prison


outsourcing             However          the use of those terms does not equate                                       to    an all encompassing                      comparison

of costs across             different    approaches                to    service       deliveryie                    an     absolute comparison                     of costs that


the     BOP would have               incurred         if    it    did housed           the same inmates as opposed                               to    CoreCivic                  In this


section         I   discuss the meaning               of the various                 cost terms used by CoreCivic                               as   they are understood


in    academic        literature       in the     practice               of government                 procurement                cost   accounting              generally           and


specifically in the            context        of evaluating               government                 contracts




                              1      Cost Savings



48          The term cost             savings can take                    on several              meanings and              is    necessarily          a relative           measure

of the     effects      of the      measures that companies or governments                                                enact to reduce              costs          In trying to


define      cost       savings         the     National              Association                  of    State        Procurement               Officers             NASPO
Benchmarking                Task    Force95 the                  Task Force                  reckons that            there are as many definitions for



number of residents            in   our care     and continue               to    pursue      a    number of initiatives              intended        to    further    increase       our

occupancy           and revenue       Our competitive                cost        structure    offers       prospective            customers      a    compelling           option     for

incarceration
90
     See   eg Consolidated            Complaint            11126    We       believe         the outsourcing          of prison management                      services     to   private

operators    allows        governments    to    manage increasing                  inmate populations           while simultaneously controlling correctional

costs    and improving correctional             services           We believe         our customers           discover        that    partnering with private                operators
to    provide       residential     services     to    their        inmates         introduces         competition           to    their      prison       system      resulting       in


improvements to the quality and cost of corrections                                services       throughout     their      correctional        system
91
     See   eg Consolidated  Complaint 11122                        We
                                                   believe that we offer a costeffective alternative to our government


partners  by reducing their correctional services costs while allowing them to avoid longterm pension obligations for
their   employees and large capital investments in new prison beds
92
     See   eg Consolidated            Complaint 11162              Modern            stateoftheart            facilities      that    improve safety             security     and cost

efficiencies
93
     See eg Consolidated             Complaint        ¶122 159160
94
     See eg Consolidated             Complaint ¶120                Our primary business                    strategy       is to   provide     quality corrections             services

offer a compelling          value    and increase occupancy                      and revenue           while maintaining our position                      as   the leading       owner
operator    and manager of privatized correctional                          and detention           facilities
95
     NASPO is the main professional association                           for state     contracting         and procurement              officials     and one of the leading

organizations         on    professional       standards           for   procurement              practices     at    all   levels       of   government              See     National

Association of        State   Procurement        Officials          Who We Are available                        at   httpswwwnaspoorgabout                            last    accessed




                                                                            CONFIDENTIAL                                                                               Page 22
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                                                             15728
cost    savings and cost          avoidance           as      there are business school professors                          who   espouse       a particular


business philosophy                   and   that    neither of these types of cost reductions has universally accepted


definitions       or methods by which                    it   is   tracked     and applied         to   a business enterprises                financials

NASPOs          work     in this       area shows             that    there    is   no uniform          definition      of cost        savings         and     that



any claims about cost savings                      for
                                                          government           contracting         should     be       1 examined in reference to

a specific      set   of cost    savings actions                   and    2 evaluated considering the measurement assumptions
and benchmarks           that    are appropriate                   and relevant      to   those    specific     actions97



49         CoreCivics           statements           about cost            savings        were     not    claims       that   CoreCivic         offered        the


lowest cost alternative               under any set of cost savings assumptions or methodology                                               The references


that   CoreCivic made to cost savings were limited by the                                          clear   context in which             they were          made

As explained          in this    section           these      assumptions           and context were disclosed                    in   the    documents          in



which     the references appeared                    For example CoreCivic                        stated   in   its    forms 10K            in for   the years


ended on December 31                   20112014


           We     believe       the    outsourcing                 of prison     management             services       to   private     operators

           allows governments                 to   manage increasing                 inmate populations               while simultaneously

           controlling      correctional             costs          and    improving          correctional        services         The       use     of

           facilities    owned and managed by private                                operators allows           governments            to    expand

           prison     capacity         without       incurring large                capital    commitments             or debt     required          to

           increase       correctional             capacity               Outsourcing            correctional          services        to    private

           operators      also        enables        government              agencies       to    avoid     costly      longterm pension

           obligations          We believe these advantages                          translate     into significant           cost savings for

           government           agencies98




50         This    statement referred                to specific          areas in which           prison    outsourcing          can provide             benefit


to     public     correctional          agencies               1      operational         flexibility        2        new     correctional            facilities




7282020         In 2007 the     Benchmarking Task Force developed                         an analytical framework to          assist   government         officials

in measuring     the effectiveness       of their cost control efforts
96
     National   Association of        State   Procurement             Officers      NASPO Benchmarking Workgroup                       Benchmarking            Cost

Savings   and Cost Avoidance Research Brief September 2007 pp                                     34
97
     National   Association of        State   Procurement             Officers      NASPO Benchmarking Workgroup                       Benchmarking            Cost

Savings   and Cost Avoidance Research Brief September 2007                               p 5
98
     Corrections Corporation of America               Forms 10K for the fiscal years 20112014




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                                                          15729
construction             and       3 pension                obligations99                   These       asserted          benefits        are   congruent          with    those


described in academic research in connection                                               with the privatization of correctional                              facilities100




                               2         Cost Effectiveness



51           Cost         effectiveness                    is     a     measure             of whether                 costs     are     minimized        for the        desired


outcome                  Key to the                concept         of cost       effectiveness               is   that     it   considers both           the    costs   and the


outcomes           of different                service      delivery           models             Stated          differently costeffectiveness                         analysis


takes     account        of both the costs and effects                                   of selecting        alternatives              making     it   possible to choose


those     alternatives          that          provide       the best results for any given                              resource outlay           or that minimize the


resource       utilization              for
                                                 any      given         outcome102                 As     a result              a cost    effective       service       delivery


                                                                       the lowest total cost                 or lowest           marginal cost compared to other
approach          may or may not produce

potential      service delivery approaches



52          CoreCivics opinion statements about cost effectiveness were generally                                                                      related to   a specific


outcome            For example CoreCivic disclosed                                           in   the   Business                  section    of   its    Form      10K we
believe      that       we     offer          a costeffective                 alternative          to    its      government             partners       by reducing         their



correctional            services             costs      while allowing them to avoid                              longterm pension obligations                          for their


employees and large capital investments                                        in    new prison          beds Embedded                          in this statement          about


cost     effectiveness             is   the notion            that      CoreCivic provides                     its
                                                                                                                       government          partners       an alternative       to



an inhouse prison management                                    system and thereby helps them minimize the amount of resources


spent     on   specific        areas such as pensions and                                 new construction                      Thus it would generally be more

99
      Similarly      CoreCivics                statement        that    Short             and longterm savings                  by     governments      can    be achieved     by
contracting       with the private              sector without          sacrificing        quality      as   part of its        investor presentations         was not made    in

reference    to   its   services        to   any   specific      customer           It   was a reference          to   the conclusions       reached     in a study conducted

by the two Temple University economists in June 2014 which CoreCivic cited in its investor presentations The same

study was cited as support for a statement made about cost savings in CoreCivics   2013 Analyst Day Presentation
See    CCA Americas             Leader           Partnership           Corrections         3Q14 1Q16           Investor         Presentations     CCA Americas            Leader

Partnership        Corrections           Presentation            2013         Analyst       Day    Durable           Earnings     and     SignificantGrowth Potential
October     22013 p 15 Hakim Simon and Erwin A Blackstone                                               Prison Break                 A New   Approach to Public Cost and
Safety Independent   Policy Report June 2014 p 4
100
      See Section       VB
101
      Fmkler Steven           A    Robert          M    Purtell       Thad    D Calabrese and Daniel L Smith Financial Management for Public
Health     and Not for Profit Organizations                            4th   Edition      New York Pearson 2013 p 623 emphasis in original
102


103
      Levin Henry         M     CostEffectiveness                  A Primer Newbury             Park CA Sage 1983 p 11

       Corrections Corporation                     of   America Forms                10K     for the      fiscal        years    20112016         See      egConsolidated

Complaint¶122             I   note      that    this    particular statement              does not discuss quality of service                 which is referred to in other
sections of Corrections              Corporation of America Form                          10K see eg Business Strategy                       section of Form       10K for the
fiscal   years 20112016




                                                                                CONFIDENTIAL                                                                        Page 24
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                                                                   15730
cost effective         for the           BOP to leverage existing private correctional                                     facilities      than build or acquire


new facilities         and          hire additional            employees because                 that   would         cause the        BOP to incur large yet

avoidable        expenditures Notably                             the identification of these areas as providing opportunities                                           for



cost    minimization                is    consistent with the              findings of academic                  research            see     Section         V   B       For


example outsourcing                           allows   the     BOP to manage increases in inmate                                   populations          more      flexibly


than    it   could   if   it   were to solely             rely    on     its   own     facilities105




                               3          Cost Efficiency



53            Cost efficiency                    is    a measure          of how         close    an organization                   comes     to    minimizing the

amount of resources used for the result attained                                           A product service                      method or process              achieves


a cost       efficiency        if   it   can produce the same output at a lower cost                                       or can produce a greater output


for the       same cost             Unlike cost effectiveness                     cost efficiency          does not necessarily imply a focus on


broad outcomes                 like       improving          overall      organization           effectiveness               or accommodating                 a surge     in



demand         for a service                   Rather     it   can    and often does             refer to       a narrower             focus       on the resources


required        for specific             service delivery tasks                or processes



54            CoreCivic             s    opinion       statement that           its    modern stateoftheart                            facilities             improve

cost    efficiencies                     is   specific    to    one    particular characteristic                 of its           services    and       is   not a broad


assertion that            CoreCivic improved                      cost    efficiencies       on    all    dimensions                of prison management                  or


that   it    offered the lowest cost alternative                         under any set of cost savings assumptions or methodology


In the       context      of correctional                services        this   statement can be tied to the relationship between                                        the



age of a correctional                     facility      and inmate monitoring costs                           This          statement        too   is    supported by




             eg Moore Adrian T Private Prisons Quality Corrections
104
      See                                                                                               at a Lower         Cost Reason Public Policy Institute
Policy Study    No 240 1999 pp 46
      Hakim Simon and Erwin A Blackstone Prison Break
105
                                                                                          A New Approach              to   Public Cost     and Safety Independent

Policy  Report June 2014 p 23
106
      Fmkler Steven         A
                       Robert    Purtell Thad   M                      D
                                                  Calabrese and Daniel L Smith Financial Management                                                              for Public

Health   and Not for Profit Organizations 4th ed New York Pearson 2013 p 295



                 1
107
      See    eg Consolidated                  Complaint   11162   Modern              stateoftheart      facilities        that   improve safety security          and cost
efficiencies             CCA Americas Leader Partnership Corrections Fourth Quarter 2014 Investor                                                            Presentation
February2015           p 29 CCA Americas Leader Partnership Corrections First Quarter 2016 Investor                                                          Presentation
May 2016 p 29




                                                                           CONFIDENTIAL                                                                        Page 25
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                                                                15731
published          research that finds that a better facility                             layout and improved                  technology       can help monitor


the     same number of inmates with fewer                                   staff    thus generating               cost efficiencies




                                 4         Competitive              Cost Structure               and Economies               of Scale




55            Cost structure                      or cost function              generally       refers to         a mathematical description of how a
cost changes          with changes                   in the    level      of an activity relating to that cost1°9                        The cost        structure       or


cost function          for public                services like corrections                 is   a blend of three different types of costs                         fixed

                                           110
costs       variable        costs                 and   step
                                                               fixed costs           it   incurs        as   it   increases or decreases           its   volume          of


service        Fixed costs are the same regardless of the level of activity                                                Wages and benefits for salaried

employees are examples of fixed costs for corrections                                                  services       as   they typically       do not change            as


the number           of inmates housed                   increases          or decreases               Variable costs          by contrast                     in
                                                                                                                                                 vary directly


proportion to the number of inmates housed                                          Inmate meal costs                 for instance      increase and decrease


directly      in
                   response to the number                           of inmates housed                  Step fixed or mixed costs have                            both a


fixed and          a variable                                        For example insurance                        costs     are generally       based      on     tiered
                                              component

premiums where a company pays a flat amount to insure say 0100 employees but that premium

then increases              to    a higher flat rate to insure                     101200 employees                    and so forth


56           CoreCivics                    opinion        statements              about         competitive             cost     structure        speak         to      the


characteristics             of its         cost    structure         as   a business            CoreCivic          stated    in the    Business      section of its


Form 10K             that        its   competitive             cost       structure       offers       prospective         customers a compelling option


for incarceration                             Notably          CoreCivics            statement          was not        specific    to   the    BOP       and instead


referred       to     all        of     its      customers           which         include        other        organizations          besides    the      BOP         see

Exhibit 1112                 This          statement          does        not    indicate       that    CoreCivics             government        partners        would


108
      Moore     Adrian       T         Private Prisons          Quality Corrections             at a   Lower Cost Reason Public Policy              Institute     Policy

Study    No 240 1999 p 16
109
      Horngren       Charles           T   Srikant    M Datar and Madav V Rajan                        Cost Accounting         A Managerial Emphasis 14th ed
New York            Prentice        Hall 2012           p 341
110
      Horngren       Charles           T   Srikant    M Datar and Madav V Rajan                        Cost Accounting         A Managerial Emphasis 14th ed
New York            Prentice        Hall      2012 pp 3031
111
      See    eg Corrections Corporation of America Form 10K for the year ended December 31 2011                         Complaint ¶123
Our industry benefits from                                economies of scale resulting in lower operating costs per inmate as occupancy
                                                 significant

rates   increase     We believe               we have been successful in increasing the number of residents in our care and continue to
pursue      a number of initiatives intended                   to   further increase our occupancy                and revenue     Our competitive        cost   structure

offers prospective          customers            a compelling option for incarceration
112
      Corrections Corporation of                     America Form               10K for the fiscal years 20112016                     Item    1 Business        See     eg
Exhibit      22 Corrections                Corporation of           America Form 10K for the                 fiscal   year ended   December      31 2015        filed    on




                                                                                CONFIDENTIAL                                                              Page 26
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necessarily         achieve       cost savings in               all   circumstances              or that CoreCivics               services are always the


lowest cost option                Instead       it
                                                      expresses            a belief that CoreCivics                   cost structure which                is   a mix of


fixed     variable          and        step
                                              fixed costs               is    compelling                compared          to   that    of       other     competing

correctional        options



57         Similarly CoreCivics                        opinion statements about industry wide benefits from                                                significant


economies of scale                 refer to       the     flexibility         it   and   its
                                                                                               peers     offer      governments            to   control     or reduce


per inmate costs             and are not claims                  that    CoreCivic offers the lowest cost                       alternative            under any       set



of cost    savings assumptions                    or methodology                    As part        of the         previously mentioned                 statement on


cost    structure         CoreCivic           commented                  our industry benefits                        from     significant            economies        of


scale113           This   reference to            economies                of scale       was a broad commentary                       on the private prison


industry as a whole that conveys                              an opinion that the size and cost                       structure   of private             correctional


operations allows them to manage costs in ways that government                                                      run correctional             facilities      cannot

The term economies of scale                          refers to        the decrease          in   the unit cost of a service                     as   output     ie the
number of users of that service increases                                          For instance              in   an existing facility               CoreCivic may

be able      to    add inmates with                  little    to     no new fixed or              step
                                                                                                             fixed costs whereas government run

                                                                                                                                                     In addition
correctional        facilities         may not be able                to     deliver those same economies of scale                                                    the


incremental          cost        per   facility        to      owning         and    managing                additional    correctional               facilities
                                                                                                                                                                    may

decrease                          firm level           fixed and step fixed costs                                  not vary     with       additional
              as    certain                                                                              may                                                   facilities



eg corporate salaries115




February     25 2016        at   p 5 Our customers                  consist    of federal      state    and local correctional        and detention         authorities

Federal   correctional       and detention           authorities        primarily consist        of the Federal        Bureau    of Prisons or the              BOP the
United    States    Marshals Service           or the         USMS      and ICE Payments by federal correctional  and detention                                authorities


represented       51 44 and 44 of our                           total   revenue for the years ended December    31 2015 2014                                   and 2013

respectively
113
      See Corrections       Corporation of America Form                       10K for the fiscal years 20112016
114
   Pmdyck          Robert    S    and Daniel         L Rubinfeld             Microeconomics            7th   ed Upper Saddle River Pearson Education
2009 pp 255256
115
       McDonald    Douglas et al Private Prisons                              in   the United      States         An Assessment       of   Current Practice           Abt
Associates    Inc July 16 1998 pp 3437




                                                                           CONFIDENTIAL                                                                    Page 27
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                                                            15733
                                5         Value Proposition



58           Value         proposition                  is   a concept     that        does not have          a single       specific     definition       in the      cost


accounting          literature            but     is   used     to    broadly refer to the                reasons     why      a customer          would        select      a


given product             or service            and encompasses                 quality benefits costs                  tradeoffs and other factors


59           CoreCivics               opinion statements about                          its   value     proposition were general commentary                              on

the private        correctional             sector and did not convey that CoreCivic offers the lowest cost alternative


under       any    set     of cost          savings           assumptions              or methodology                CoreCivic used               the   term value


proposition for example in reference to a chart depicting                                                    an increase in the percentage                 of inmate


population         housed            by private              correctional       facilities            and CoreCivic stated                compelling               value


proposition has                 driven       privatized               market    penetration             higher117            This    statement          refers    to   the


private      correctional             sector as a             whole       and     it    was an expression of an opinion about the                                factors



driving outsourcing                   to that          sector         Moreover           the    reference to value            proposition did not include


any    specific      data or as would be expected                               with any quantitative                 cost    statement       employ a defined


methodology            and          set    of assumptions               for evaluating                such   savings that       may be        achieved          through


private correctional                 facility          services        As Mr Cameron Hopewell                         CoreCivics Managing                    Director


of Investor        Relations               testified




             Price         is   one of many                  factors that      go      into    our value proposition                and so that           the

             statement about price was not intended to suggest                                            that thats     the only issue the only

                  the only thing that a potential                         government             customer looks          at

                                6         Cost Control



60           Cost control             is   the process                of ensuring that the cost of operation                        for   an organization             does


not    exceed       its
                           target          cost        and   that     there    are no          cost    overruns119            Process         is    central      to    this



definition          According              to   one of the leading               texts        on government           managerial          accounting         while
occasional         cost         overruns          are not         unlikely      because           of events         and circumstances              over which            an



116
      Kotler      Philip    and Kevin Lane Keller Marketing Management                                       15th   ed Harlow       Pearson    Education         Limited

2016    at   p 298
117
      See    eg Exhibit 22 Complaint                         411120   Our primary business strategy is to provide                    quality corrections         services

offer a compelling          value         and increase occupancy               and revenue            while maintaining our position         as   the leading     owner
operator      and manager of privatized correctional                       and detention          facilities
118
      Deposition of Cameron Hopewell                          January     17 2020 p 772025
119
      Khan Aman Cost and Optimization in Government 2nd Edition New York Routeledge                                                         p 136




                                                                           CONFIDENTIAL                                                                    Page 28
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                                                                 15734
organization         may not have enough                     control      it    is   important that         all    organizations large or small


adopt measures that would ensure cost control as part of their normal operation12°                                                        In other words


cost    control      is   fundamentally               about implementing policies                        and processes          that    can     help to keep


costs at or near target levels                       In the context of privatization of government                              services        this   does not


imply a specific           set       of cost savings relative           to     some comparison group or relative                         to   a specific       cost


trend    over time



61         CoreCivic             s   opinion statements               about cost           control   do not describe a                specific       set   of cost


savings       CoreCivic stated                 in   its   Form 10K           we        believe       the outsourcing            of prison management


services to private
                                 operators allows            governments              to   manage increasing              inmate populations                while


simultaneously             controlling              correctional       costs         and    improving           correctional          services121             This


statement referenced                   the    fact that    outsourcing          provides          governments           the flexibility        of utilizing        a


third party         service          provider         which      in    turn      helps        them       manage and          control          cost    overruns


Similarly      the        OIG Report             specifically         recognized           this   benefit        since          contracts       with       private


prisons     are fixed price contracts                      the   payment amount                   does    not    change     based        on    costs       such   as


resources or time expended by the contractor                                    and according               to    the   FAR fixed price incentive
contracts are to the governments advantage                               because            the contractor        has to    assume substantial                 cost


responsibility        and an appropriate                   share of the cost risk 122




VIII       Evaluation                of Documents           Identified         by Plaintiff In Support of Its Cost Allegations


           A              The OIG Report and Yates                             Memorandum                  Do Not         Provide        An     Analysis          of


                          Costs



62         Plaintiff       claims        that   as the Review            by the        OIG concluded              and other sources             have shown


costs    are comparable                 at   best with       BOP facilities             and any savings            result       not from       efficiencies


but from understaffing                   and hiring underqualified                    staff   thus contributing            to   the     serious safety and


security      issues        at       these      facilities123           However               neither      the     OIG      Report        nor        the    Yates




120
      Khan Aman Cost and Optimization in Government 2nd Edition New York Routeledge                                                   p 136
121
      Corrections    Corporation of America                Forms 10K for the fiscal years 20112016
122
      OIG Report p 11                See also   eg McRae AwardContract                      CORECIVIC00030823321                   at   158
123
      Consolidated        Complaint          ¶117




                                                                      CONFIDENTIAL                                                                   Page 29
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                                                              15735
Memorandum                    provided          data or analysis that                    contributed          to or otherwise                   informed            the   debate


on cost savings and cost effectiveness                                that     is    robustly covered                    in the    body of literature on private

correctional           facility        costs           The     OIG        Report              acknowledged                 challenges            of     conducting            cost


comparisons            that    have      been well documented and publicized125                                                  Indeed the        available         literature



notes that the           data needed            to     establish       rigorous assumptions and perform a comparative                                                 analysis


of even        certain    categories of costs across                      private and public                  facilities           is   not readily available126



63             Furthermore neither the                      OIG Report nor the Yates Memorandum                                               provide        an analysis of


costs that address             the accuracy             of CoreCivics                 cost related           statements                 The    OIG Report presented

the     same highlevel                BOP data          as that       used by CoreCivic                   in       its    cost    comparisons              to
                                                                                                                                                                compare the

annual         per     capita     costs        of    BOP operated                   facilities       to   those            of privately            operated          facilities



generally127            The     OIG Report              did not put forth                new cost comparison                       data or analysis                 Instead     it




acknowledged             that     due    to   data limitations the                    OIG had not analyzed and compared costs incurred

by function           or department            between the contract correctional                                   facilities      and        BOP in5titution5128               In


addition         the    OIG Report              indicated        that     it    had not compared                         the     overall       costs      of incarceration


between         BOP institutions and contract correctional                                     facilities      in
                                                                                                                         part because          of the different nature


of the inmate populations                     and programs offered                       in those facilities129




64             The     Yates      Memorandum                  offers          even      less        simply         expressing             an    opinion that              private


correctional           facilities       do not save               substantially                on   costs                   It    did    not    offer      any additional

information that              complemented                  contributed             to or contradicted                    the wealth           of academic literature




124Um ted States Department               of Justice          Memorandum               for the Acting Director Federal                    Bureau of Prisons from Sally

Yates     Deputy       Attorney       General Subject            Reducing              our    Use of Private             Prisons August 18 2016            the Yates
Memorandum
125
       OIG Report p 11
126
       Mumford Megan             et   al The Economics                of Private       Prisons Brookings Institute                       The Hamilton Project 2016

p 4 In order to compare                 the cost of both public                and private       prisons      it    is   important       to   include     capital   costs of the

prison    facility    and monitoring costs for the               state    agency that oversees the contract with the prison In addition one
must account for differences             in   required      security    levels and inmate needs which affect the expense of running a prison

Private    companies       are    not required         to   release    many         details    of their operations including                    details    on the cost of the
services       they   provide     which       limits    the   ability    to    make      comparisons The                  Government           Accountability        Office    has

concluded        multiple times that the data are not                  sufficient       to    definitively    claim that          either type      of prison is      more cost
effective
127
   OIG Report pp 1112 The charts display that the costs incurred by the BOP for contract prisons were                                                                       79
lower  on average over FY20112014   than those it incurred for comparable BOP facilities and 108 and 122
lower in FY 2013 and FY 2014 respectively However the OIG report warned against drawing any conclusions from

that   data
128
       OIG Report p 11
129
       OIG Report p 11
130
       Yates   Memorandum




                                                                         CONFIDENTIAL                                                                               Page 30
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discussed above                in   Section           V which demonstrates                      that    a comparison       of cost     savings      is    a highly


complex proposition that cannot be reduced                                          to   simple statements or global             conclusions



65         In sum the               OIG Report and Yates Memorandum                                     do not provide data or analysis that assist


in evaluating           the reasonableness of and bases for CoreCivics                                        cost related       statements



           B               The       Documents                 and          Testimony           Listed      in    Plaintiff      in   Its    Interrogatory

                           Responses             Do Not Provide Support                           for Its   Cost Allegations



66         I    understand                that    Plaintiff            in    its    response        to    interrogatories        from       Defendants           has


summarized              its   cost    allegations            as    Iput          simply             despite Defendants            constant        refrain they


were not providing the same                            level   of quality while offering cost                     savings         Plaintiff      further states


that   there were             numerous            internally           and externally flagged problems                    in various        forms including


Notices        of Concern                 multiple      deficiencies               including        crucial      services       repeat deficiencies              and


worse          deductions            for nonconformance                          and understaffing               which    were    due       in    large    part to


CoreCivic          s   artificial         cost    savings cheaper                    wages        worse benefits and more remote locations


not greater efficiencY131


67         As discussed in Section                       V the          literature generally              finds that two of the principal bases for


cost    savings         generated by              private         correctional             facilities    emanate    from         1 construction related

costs     including            locating          in   less   expensive              areas
                                                                                              and       2 personnel costs         including by            limiting


pension        costs          and    locating          facilities           in     areas     where       wage    rates    are    lower      for     comparable


occupations              Thus the           factors      Plaintiff          identifies        as artificial       cost   savings are instead some of


the very factors that the literature identifies as the                                      common        bases for actual        cost savings provided


by     private     correctional             facilities            If   anything            such   factors     are supportive          of CoreCivic          s    cost


statements and do not contradict                             them


68         I   further understand that Plaintiff                            has identified          the documents and depositions                   containing


the    facts    and constituting                 the    documents                supporting       Lead Plaintiffs         contention         that   each     listed




131
      Plaintiffs       Objections         and Responses           to   Defendant         CoreCivic      Incs Second      Set of Interrogatories      to   Plaintiff

May 1 2020 Response                  to   Interrogatory        No 13 p 7




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statement omitted material information necessary                                      to   make it    not misleading132                    The documents


Plaintiff     identifies       can be categorized                a5133


                   Deductions           assessed for contract                 nonconformance
                    Award fee determination5135
                    Contract        facility    monitoring reports and response and closure reports136                                       and

                   Notice      of concernnonconformance                             memoranda137


None        of these        documents           identified        by     Plaintiff         provides     cost       data     or    analysis      concerning


CoreCivic or the BOP                    Instead      these documents appear                    to relate to       the quality and compliance                    of


services provided              by CoreCivic under                its   BOP contracts


69          Plaintiff       also states without identifying                         specific   documents           or portions       of testimony that


the      deposition         testimony and           deposition               exhibits of the      following          individuals           contain      factual



support       for Plaintiffs            contention         that    this       statement        omitted material information                     which        was

necessary         to   make these        statements not misleading                     John Baxter Emilee Beach Jeb Beasley Tony


Grande        Keith Hall              Cameron Hopewell                   Damon         Hininger       Natasha Metcalf                 Todd Mullenger


Michael       Nalley Patrick Swindle as Fed                            R Civ P Rule 30b6 and fact witness Bart Verhulst

132
      Plaintiffs       Objections      and Responses       to   Defendant          CoreCivic   Incs Second          Set of Interrogatories         to   Plaintiff

May 1 2020 Response              to    Interrogatory   No 13 pp 6144
133
      Plaintiff    also   identifies   a spreadsheet    titled    BiWeekly            FTE Report      Business      Unit    1 for the current pay period
of December         15 2013         December     28 2013          See   CORECIVIC1398031                It   is   unclear   how    this    spreadsheet     relates

to    Plaintiffs    interrogatory       response       Regardless            the   spreadsheet   does   not       appear    to   provide    relevant     data   or
information concerning              CoreCivics     costs   relative     to   the   BOP
134
      See   CORECIVIC        0660304 CORECIVIC 0660298 CORECIVIC 0660301 CORECIVIC 0991634
CORECIVIC              0683222 CORECIVIC2155593 CORECIVIC 0043786 CORECIVIC 0960355
CORECIVIC              0502774 CORECIVIC               1088594         CORECIVIC           0507792 CORECIVIC1331967
CORECIVIC              0994540
135
      See   CORECIVIC          1089461         BOP 0008068 CORECIVIC                       0990129 CORECIVIC                0990186
CORECIVIC              0990200 CORECIVIC0990221 CORECIVIC                                  1001311    CORECIVIC             0044374
CORECIVIC              0044795
136
      See   CORECIVIC          2079558 CORECIVIC                  2079567 CORECIVIC                0125304 CORECIVIC                   1848098
CORECIVIC              0050272 CORECIVIC             0050274 CORECIVIC0961357 CORECIVIC                                     0050276
CORECIVIC              0050255 CORECIVIC 1086703 CORECIVIC 1086664 CORECIVIC1272221
CORECIVIC              1048594 CORECIVIC0375313 CORECIVIC 0080462 CORECIVIC 1086670
CORECIVIC              1001430 CORECIVIC 1273149 CORECIVIC1057091 CORECIVIC 1868591
CORECIVIC              1062079 CORECIVIC0056731 CORECIVIC 2037897 CORECIVIC 0944767
CORECIVIC              0426167 CORECIVIC 1051670 CORECIVIC 0945968
137
      See   CORECIVIC          1084355   CORECIVIC1131928 CORECIVIC 0024796 CORECIVIC 0761728
CORECIVIC              1084392      CORECIVIC 1969691 CORECIVIC 1084370 CORECIVIC 1233702
CORECIVIC              1084364      CORECIVIC 1084374 CORECIVIC 1084378 CORECIVIC 0024798
CORECIVIC              1272428      CORECIVIC 1084381 CORECIVIC 1145995 CORECIVIC 0059412
CORECIVIC              1048148      CORECIVIC 1084397 CORECIVIC 0024802 CORECIVIC1084401
CORECIVIC              1084409      CORECIVIC 1164202 CORECIVIC1086031 CORECIVIC1084413
CORECIVIC 1168850 CORECIVIC 1501382 CORECIVIC                                              0024804 CORECIVIC                 1084426
CORECIVIC1153235 CORECIVIC1153773 CORECIVIC                                                1084430    CORECIVIC             0252572
CORECIVIC 1048125




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and Kim White      In short     my review of the deposition    testimony and exhibits for these individuals


did not reveal data information        or analysis that would lead me to alter the cost savings conclusions


reached   throughout   this
                              report




                                                                       Dr Justin Marlowe     PhD CGFM
                                                                                           August   7 2020




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